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                  IN THE UNITED STATES DISTRICT COURT
                                                                          NOV
                 FOR THE EASTERN DISTRICT OF VIRGINIA
                                Richmond Division
                                                               ■    clerk, U.S. DISTRICT
                                                                                DIS      CniTar

PUNALERO DANCINGBUCK,                                                         "
                                                                              ''             —

      Plaintiff,

 V.                                            Civil Action No. 3:17CV659

C. YOUNG, ^ al.,

      Defendants.


                            MEMORANDUM OPINION


      Punalero Dancingbuck, a Virginia inmate proceeding pro se,

filed this 42 U.S.C. § 1983 action.             The action proceeds on the

PARTICULARIZED     COMPLAINT.        ("Complaint,"     ECF    No.     15.)         The

matter is before the Court on the Motion to                  Dismiss filed by

Investigator Young and Nurse Sidi.             For the reasons that follow,

the Motion to Dismiss (ECF No. 19) will be granted because the

action is barred by the relevant statute of limitations.


                           I.    PRELIMINARY REVIEW


       "A   motion    to   dismiss     under    Rule   12(b)(6)        tests      the

sufficiency of a      complaint; importantly, it does               not resolve

contests surrounding the facts, the merits of a claim, or the

applicability of defenses."          Republican Party of N.C. v. Martin,

980 F.2d 943, 952 (4th Cir. 1992) (citing 5A Charles A. Wright &

Arthur R. Miller, Federal Practice and Procedure § 1356 (1990)).

In considering a motion to dismiss for failure to state a claim.
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a plaintiff's well-pleaded allegations are taken as true and the

complaint       is       viewed      in     the     light     most       favorable        to    the

plaintiff.       Mylan Labs.^ Inc. v. Matkari, 7 F.3d 1130, 1134 (4th

Cir. 1993); see also Martin, 980 F.2d at 952.                                  This principle

applies       only       to    factual      allegations,          however,      and   "a       court

considering          a    motion       to    dismiss        can    choose       to    begin       by

identifying          pleadings         that,      because    they       are    no     more     than

conclusions,         are       not   entitled       to    the     assumption         of   truth."

Ashcroft V. Iqbal, 556 U.S. 662, 679 (2009).

        While    the      Court      liberally       construes          pro    se    complaints,

Gordon v. Leeke, 574 F.2d 1147, 1151 (4th Cir. 1978), it does

not     act     as       the    inmate's       advocate,          sua    sponte       developing

statutory and constitutional claims the inmate failed to clearly

raise on the face of his complaint.                         See Brock v. Carroll, 107

F.3d 241, 243 (4th Cir. 1997) (Luttig, J., concurring); Beaudett

V. City of Hampton, 775 F.2d 1274, 1278 (4th Cir. 1985).


                     II.       SUMMARY OF PERTINENT ALLEGATIONS


      By Memorandum Order entered on February 26, 2018, the Court

directed Dancingbuck to particularize his complaint in order to

provide the defendants with fair notice of the facts and legal

basis     upon       which      their       liability       rests.            (ECF    No.      14.)^


     ^ The Court also directed Dancingbuck to list all of the
defendants in the first paragraph of the forthcoming complaint.
Investigator         Young       and      Nurse    Sidi     are    the    only       individuals
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Dancingbuck's response is hardly a model of clarity.                          As best as

can be discerned, Dancingbuck contends that Investigator Young

and Nurse Sidi violated his rights under the Eighth Amendment by

their unidentified conduct between July 13 and July 16, 2015,

which    somehow     caused     damage        to   Dancingbuck's       gastrointestinal

track.      (Compl.       1.)   Specifically,          with   respect to         Defendant

Young, Dancingbuck alleges that:^

      Inv. Young's criminal acts nearly caused my death.
      Taken to E.R. . . . Spent 3 days for treatment of
      emergency    surgery    at     Southampton   Memorial
      Hospital. . . . Prognosis:       permanently  damaged
      prostate,     colon,     internal/external    painful
      hemorrhoids. . . . Investigator C. Young . . . nearly
      caused my death by his cruel & unusual punishment on
      7.13.15, abuse & mistreatment began damage & bleeding
      G.I. track.   I nearly bled out to death, till on,
      7.16.15, so bad condition [that] I had to be taken
      [to] E.R. . . .

(Id. at 1.)      With respect to Defendant Sidi, Dancingbuck alleges

that:


        Nurse   R.       Sidi['s]    criminal        acts   nearly      caused     my
      death. . . .          Nurse   R.   Sidi's      violation     of   8th   civil
      right nearly caused my death & has caused permanent
      injuries by her cruel & unusual punishment between
      07.13.15       &    07.16.15,      so   bad    condition     I    had   to   be
      taken to E.R


(Id.)


listed in that paragraph of the Complaint.         (Compl. 1.)
Therefore, the Court declines to consider the other individuals
mentioned on the final page of Dancingbuck's response to the
particularize order and whose names Dancingbuck crossed out.
(ECF No. 15-1, at 3.)

^    The    Court         corrects       the        punctuation,        spelling,       and
capitalization in the quotations from Dancingbuck's submissions.
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                                   Ill.     ANALYSIS


       Because there is no explicit statute of limitations for 42

U.S.C. § 1983 actions, the                courts       borrow   the   personal injury

statute    of       limitations    from     the    relevant      state.     Nasim     v.

Warden,    64   F.Sd     951,     955    (4th   Cir.     1995)   (citing    Wilson    v.

Garcia, 471 U.S. 261, 266-69 (1985)).                     Virginia applies a two-

 year statute of limitations to personal injury claims.                       See Va.

Code   Ann.     §    8.01-243(A)        (West   2018).     Hence,     Dancingbuck    was

required to have filed his Complaint within two years from when

the    underlying       claim     accrued.        "A    claim    accrues    when     the

plaintiff becomes aware of his or her injury. United States v.

Kubrick, 444 U.S. Ill, 123 (1979), or when he or she                       Hs put on

notice . . . to make reasonable inquiry' as to whether a claim

exists."      Almond v. Sisk, No. 3:08cvl38, 2009 WL 2424084, at *4

(E.D. Va. Aug. 6, 2009) (omission in original) (quoting Nasim,

64 F.3d at 955).

       Dancingbuck's claims against Investigator Young and Nurse

Sidi accrued at the latest on July 16, 2015 when he was treated

for the injuries they allegedly caused to his gastrointestinal

track.     Thus, for Danckingbuck's claims to be timely he needed

to file this action by July 1, 2017.                     The record in this matter

indicates that Dancingbuck handed his original complaint in this

matter to prison officials on September 14, 2017.                       (ECF No. 1-5,
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at 1.)     The Court deems the action filed as of that date.                                See

Lewis V. Richmond City Police Dep^t, 947 F.2d 733, 736 (4th Cir.

1991) (concluding inmate's civil action was filed for statute of

limitation        purposes       when      handed     to      prison         officials      for

mailing).        Accordingly, the present action is untimely.

        Dancingbuck responds that the action is timely because the

statute     of    limitations       was    "tolled      under         the       ^continuous   -

treatment doctrine,' and James Herman Raynor v. Gerald Pugh Civ.

Act. # 1:13CV01117-LMB-JFA."                 (ECF No. 22, at 1.)                   Initially,

the   Court      notes   that the       cited    case      has   nothing to          with   the

statute     of     limitations.           Even   if     the      continuous         treatment

doctrine applied in the context of Eighth Amendment claims^, it
still     would    not    save    Dancingbuck's       claim.          "[T]he       continuing

treatment        doctrine       tolls     the    running         of       the     statute     of

limitations       while     a    patient    is   undergoing           a     ^continuous     and

substantially uninterrupted course of examination and treatment'

for a particular ailment."                Castillo v. Emergency Med. Assocs.,

P.A., 372 F.3d 643, 648 (4th Cir. 2004) (citing Farley v. Goode,

252 S.E.2d 594, 599 (Va. 1979)).                      Here, Dancingbuck fails to

allege any facts that suggest that he received any care from

Investigator Young and Nurse Sidi after July 16, 2015.                               Kelly v.



      ^   See     O'Neil    v.    United     States,       No.    5:07-0358,         2011     WL
4597362, at *7 n.2 (S.D. W. Va. Aug. 2, 2011) (concluding that
the continuing treatment doctrine was inapplicable to deliberate
indifference claims).
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United States, No. 92-2420, 1993 WL 321581, at *2 (4th Cir. Aug.

23, 1993) (finding the continuous treatment doctrine inapplicable

because plaintiff failed to indicate that after the date of the

surgery     she    received    further     treatment    from    the    defendant).

Accordingly, Dancingbuck's claims are barred by the statute of

limitations.



                                IV.   CONCLUSION


        Defendants' Motion to Dismiss (ECF No. 19) will be granted.

Dancingbuck's claims          will be      dismissed.     The   action    will be

dismissed.        The Clerks will be directed to note the disposition

of the action for purposes of 28 U.S.C. § 1915(g).

      The   Clerk    is   directed    to    send   a   copy   of the    Memorandum

Opinion to Dancingbuck and counsel for Defendants.

      It is so ORDERED.


                                                              /s/ /?S/^
                                        Robert E. Payne
                                        Senior United States District Judge

Date:
Richmond, Virginia
